 Fill in this information to identify the case:

 Debtor name         SHURWEST, LLC

 United States Bankruptcy Court for the:            DISTRICT OF ARIZONA

 Case number (if known)         2:21-bk-06723-DPC
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 31, 2021                         X /s/ James Maschek
                                                                       Signature of individual signing on behalf of debtor

                                                                       James Maschek
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                               Main Document    Page 1 of 4
 Fill in this information to identify the case:
 Debtor name SHURWEST, LLC
 United States Bankruptcy Court for the: DISTRICT OF ARIZONA                                                                                          Check if this is an

 Case number (if known):                2:21-bk-06723-DPC                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Anthony Ostlund                                                 Trade debt                                                                                                   $111.00
 90 S 7th Street
 3600 Wells Fargo
 Center
 Minneapolis, MN
 55402
 Arizona Department                                              Transaction                                                                                                    $11.60
 of Revenue                                                      privilege tax
 PO Box 29085
 Phoenix, AZ 85038
 Ballard Spahr, LLP                                              Professional                                                                                           $268,169.90
 1 E Washington St                                               services
 #2300
 Phoenix, AZ
 85004-2555
 Bass, Berry & Sims                                              Professional                                                                                             $12,318.00
 PLC                                                             services
 150 Third Avenue
 South
 Suite 2800
 Nashville, TN 37201
 Burr & Forman LLP                                               Professional                                                                                               $8,627.50
 PO Box 830719                                                   services
 Birmingham, AL
 35283-0719
 CMAM, Inc dba                                                   Contractual                                                                                          $1,230,482.88
 Heritage Financial                                              obligation
 Srvcs
 Albert Andrew
 Manfre & Jeannette
 Manfre
 28142 Camino
 Capistrano, Ste 101
 Laguna Niguel, CA
 92677




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SHURWEST, LLC                                                                                      Case number (if known)         2:21-bk-06723-DPC
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Dentons Bingham                                                 Professional                                                                                                 $204.02
 Greenebaum LLP                                                  services
 3913 Solutions
 Center
 Chicago, IL
 60677-3009
 DLA Piper LLP (US)                                              Professional                                                                                         $1,027,082.66
 PO Box 75190                                                    services
 Baltimore, MD 21275
 Duke Evett, PLLC                                                Trade debt                                                                                                 $1,811.20
 1087 W River Street
 Suite 300
 Boise, ID 83702
 Element                                                         Employee                                                                                                   $4,000.00
 Management                                                      production
 Services LLC                                                    commissions
 17550 N Perimeter
 Drive
 Suite 300
 Scottsdale, AZ
 85255
 EWR Scottsdale                                                  Rent                                                                                                   $356,048.00
 P&P, LLC
 51 N Broadway
 Suite 600
 Fargo, ND 58102
 Geiger Prell, LLC                                               Professional                                                                                               $2,380.00
 12980 Foster Street                                             services
 Suite 150
 Overland Park, KS
 66213
 Horter Investment                                               Contractual                                                                                            $761,250.00
 Management LLC                                                  obligation
 17726 Seven Gables
 Rd
 Symmes Township
 Cincinnati, OH
 45249
 King & Spalding                                                 Professional                                                                                           $218,141.50
 LLP                                                             services
 PO Box 116133
 Atlanta, GA
 30368-6133
 Minnesota Life                                                  Contractual            Unliquidated                                                                  $2,152,524.86
 Insurance                                                       obligation             Disputed
 400 Robert Street
 North
 Saint Paul, MN
 55101-2098




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    SHURWEST, LLC                                                                                      Case number (if known)         2:21-bk-06723-DPC
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Mitchell Stein Carey                                            Professional                                                                                               $3,840.00
 Chapman, PC                                                     services
 One Renaissance
 Square, 2 N Central
 Ave
 Suite 1450
 Phoenix, AZ 85004
 Quarles & Brady                                                 Professional                                                                                             $15,076.00
 LLP                                                             services
 411 E Wisconsin
 Avenue
 Suite 2400
 Milwaukee, WI
 53202
 The Quantum                                                     Contractual                                                                                              $13,234.01
 Group, USA                                                      obligation
 17550 N Perimeter
 Drive
 Suite 300
 Scottsdale, AZ
 85255




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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